         Case 1:17-cv-00228-SPB Document 45 Filed 04/04/18 Page 1 of 29




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     215-587-0006

     IN THE UNITED STATES OF AMERICA DISTRICT COURT FOR THE WESTERN
                        DISTRICT OF PENNSYLVANIA
                                              :
MONTRICE BOLDEN                               :   CIVIL ACTION NO. 17-228
4162 Fargo St.                                :
Erie, PA 16510
                                              :
                        Plaintiff             :
v.                                            :
                                              :
City of Erie, Pennsylvania                    :
626 State Street
Erie, PA 16501
                                              :
                                              :
and                                           :
                                              :
STEVEN DELUCA, Police Officer                 :
Erie Police Dept.
626 State Street
                                              :
Erie, PA 16501                                :
                                              :
and                                           :
                                              :
IRA BUSH, Police Officer
Erie Police Dept.
                                              :
626 State Street                              :
Erie, PA 16501                                :
                                              :
and                                           :
WILLIAM GOOZDICH, Police Officer
                                              :
Erie Police Dept.                             :
626 State Street                              :
Erie, PA 16501                                :
                                              :
and
                                              :
JACOB SACK, Police Officer                    :
Erie Police Dept.                             :
626 State Street                              :
Erie, PA 16501                                :
and
                                              :
                                              :
                                              :


     1
        Case 1:17-cv-00228-SPB Document 45 Filed 04/04/18 Page 2 of 29




NICK STADLER, Police Officer                           :
Erie Police Dept.                                      :
626 State Street
Erie, PA 16501                                         :
                                                       :
and                                                    :
                                                       :
JERRY STEVENS, Police Officer                          :
Erie Police Dept.
626 State Street
                                                       :
Erie, PA 16501                                         :
                                                       :
                                                       :
                        Defendants.                    :
                                                       :


                               SECOND AMENDED COMPLAINT

                                PRELIMINARY STATEMENT

  1.      This is a civil rights action brought by Plaintiff Montrice Bolden, to vindicate

  profound deprivations of his constitutional rights caused by senseless police brutality

  committed by members of the City of Erie Police Department and the City of Erie. This

  action, which seeks both compensatory and punitive damages, is brought pursuant to 42

  U.S.C. § 1981, 1983 and 1988. It raises Fourth and Fourteenth Amendment

  Constitutional violations and supplemental state law claims concerning the actions of

  defendant City of Erie police officers including, inter alia, the use of excessive force

  against Plaintiff, failure to intervene, race-based enforcement discrimination, conspiracy

  to violate Plaintiff’s federally protected rights, and a Monell claim against the City of

  Erie, as well as state law actions of assault and battery and intentional infliction of

  emotional distress.

  2.      The police officer defendants, acting in the course and scope of their employment

  with the city of Erie and under the color of state law, took custody of an unarmed,

  weaponless, 41 year-old African-American man, restrained Plaintiff by each arm while a


  2
     Case 1:17-cv-00228-SPB Document 45 Filed 04/04/18 Page 3 of 29




third defendant punched Plaintiff multiple times in his face, forcibly took Plaintiff to the

ground while his arms and hands were held behind his back, handcuffed Plaintiff, used a

taser on Plaintiff while Plaintiff was handcuffed on the ground, kicked and punched

Plaintiff about his body while he lay in a prone position handcuffed on the ground,

forcefully slammed Plaintiff's head and upper body into the windshield of an unmarked

patrol vehicle, causing Plaintiff's face to hit the windshield with so much force that the

windshield cracked, pushed Plaintiff's face into the windshield while they dragged his

face from the windshield to the hood of the unmarked patrol vehicle, slammed the back

of Plaintiff's head into the roof of the car as they forced him into the unmarked patrol

vehicle, and provided false statements that Plaintiff attempted to disarm and assault

defendant police officers. The conduct of the police officer defendants caused serious

injury to Plaintiff, which required hospitalization. Under well-established law on the use

of excessive force as well as other implicated constitutional rights, the police officer

defendants are not entitled to qualified immunity or other immunity for these actions.

3.     The actions and conduct of the defendant police officers are the result of policies,

practices, customs, procedures, and the indifference of the City of Erie Police Department

and defendant City of Erie.

                                     JURISDICTION

4.     This action is brought pursuant to 28 U.S.C. §1331 and §1343. This action arises

under the provisions of the Civil Rights Act of 1866, as amended 42 U.S.C. §1983.

Plaintiff further invokes the supplemental jurisdiction of this Court under 28 U.S.C.

§1367(a) to adjudicate claims arising under state law.




3
     Case 1:17-cv-00228-SPB Document 45 Filed 04/04/18 Page 4 of 29




                                         VENUE

5.     Venue is appropriately laid in this Court pursuant to 28 U.S.C. §1391(b) in that

the actions complained of took place in Erie, which is within the bounds of the Western

District, and Defendants carry on business within the Western District.

                                        PARTIES

6.      Plaintiff, Montrice Bolden (“Plaintiff”), is an adult individual and citizen of the

United States, who resides at 4162 Fargo Street, Erie, PA, 16510.

7.      Defendant, City of Erie (hereinafter referred to as “Defendant City”) is a

municipal corporation duly organized, existing, and operating pursuant to the applicable

laws of the Commonwealth of Pennsylvania, which at all relevant times owned, operated,

managed, directed and controlled the Erie Police Department, which employs the

defendant police officers named herein. As such, Defendant City had responsibility for

hiring, training, supervising, disciplining, and the retention of police officers employed

by Defendant City, including the defendant police officers named herein. Furthermore,

as a municipal corporation, Defendant City was charged with responsibility for and was

empowered to establish, regulate, and control its police department for the enforcement

of laws within its jurisdiction and for purposes of protecting and preserving the properties

and persons within the geographical and legal jurisdiction of Defendant City of Erie. As

such, Defendant City is a proper entity to be sued under 42 U.S.C. §1983.

8.      Defendant City is properly sued directly under 42 U.S.C. §1983, as it

participated, ratified or acquiesced in maintaining Erie Police Department police

practices, customs, policies, usages or procedures which were moving forces in the

complained-of constitutional and state law violations of Plaintiff’s rights and resulting




4
      Case 1:17-cv-00228-SPB Document 45 Filed 04/04/18 Page 5 of 29




injuries; and further participated or acquiesced in the hiring and/or inadequate training

and/or supervision of defendant police officers named herein.

9.      At all times relevant to this action, all defendants acted in concert and conspiracy

and were jointly and severally responsible for the harms caused to Plaintiff.

10.     Defendant, Steven Deluca, Police Officer (hereinafter referred to as Defendant

Deluca) was at all relevant times a police officer with the Police Department of the City

of Erie, Pennsylvania.

11.     Defendant Deluca is sued in his individual and official capacities and at all times

relevant hereto was acting under the color of his/her official capacity and his/her acts

were performed under color of the statutes and ordinances of the City and County of Erie

and the Commonwealth of Pennsylvania.

12.     Defendant Ira Bush, Police Officer (hereinafter referred to as “Defendant Bush”)

was at all relevant times a police officer with the Police Department of the City of Erie,

Pennsylvania.

13.     Defendant Bush is sued in his/her individual and official capacities and at all

times relevant hereto was acting under the color of his/her official capacity and his/her

acts were performed under color of the statutes and ordinances of the City and County of

Erie and the Commonwealth of Pennsylvania.

14.     Defendant William Goozdich, Police Officer (hereinafter referred to as

“Defendant Goozdich”) was at all relevant times a police officer with the Police

Department of the City of Erie, Pennsylvania.

15.     Defendant Goozdich is sued in his individual and official capacities and at all

times relevant hereto was acting under the color of his official capacity and his acts were




5
      Case 1:17-cv-00228-SPB Document 45 Filed 04/04/18 Page 6 of 29




performed under color of the statutes and ordinances of the City and County of Erie and

the Commonwealth of Pennsylvania.

16.     Defendant Jacob Sack, Police Officer (hereinafter referred to as “Defendant

Sack”) was at all relevant times a police officer with the Police Department of the City of

Erie, Pennsylvania.

17.     Defendant Sack is sued in his individual and official capacities and at all times

relevant hereto was acting under the color of his official capacity and his acts were

performed under color of the statutes and ordinances of the City and County of Erie and

the Commonwealth of Pennsylvania.

18.     Defendant Nick Stadler, Police Officer (hereinafter referred to as “Defendant

Stadler”) was at all relevant times a police officer with the Police Department of the City

of Erie, Pennsylvania.

19.     Defendant Stadler is sued in his individual and official capacities and at all times

relevant hereto was acting under the color of his official capacity and his acts were

performed under color of the statutes and ordinances of the City and County of Erie and

the Commonwealth of Pennsylvania.

20.     Defendant Jerry Stevens, Police Officer (hereinafter referred to as Defendant

Stevens) was at all relevant times a police officer with the Police Department of the City

of Erie, Pennsylvania.

21.     Defendant Stevens is sued in his individual and official capacities and at all

times relevant hereto was acting under the color of his official capacity and his acts were

performed under color of the statutes and ordinances of the City and County of Erie and

the Commonwealth of Pennsylvania.




6
      Case 1:17-cv-00228-SPB Document 45 Filed 04/04/18 Page 7 of 29




                                             FACTS

22.       On June 27, 2016, at approximately 11:51 pm, Plaintiff was lawfully parked in

his vehicle in the parking lot of TJ’s Traffic Jam (hereinafter referred to as “TJ’s”),

located in the area of 1100 Wayne St. in Erie, Pennsylvania.

23.       At the time of the incident giving rise to this Complaint, Plaintiff was an

unarmed, weaponless, 6’0”, 200 lb. African-American man.

24.       Defendants Deluca and Stadler were working as partners on June 27, 2016.

25.       Defendants Deluca and Stadler observed Plaintiff’s vehicle parked in the parking

lot at TJ’s running with the lights on.

26.       Defendants Deluca and Stadler did not observe any criminal activity.

27.       Defendants Deluca and Stadler circled the block in their police vehicle in order to

further investigate the vehicle and observed Plaintiff's car still in the parking lot running

but now with the lights off.

28.       Defendants Deluca and Stadler approached Plaintiff's car and observed him

inside.

29.       Additional police vehicles responded to investigate a car parked in the parking lot

behind TJ's.

30.       Five police officers were present when Defendant Deluca approached the drivers

side of Plaintiff's vehicle.

31.       One of the police officers – unknown to Plaintiff at this time – was observed

standing approximately 50 feet behind Defendants Deluca and Stadler putting on black

gloves, apparently preparing himself for a physical altercation with Plaintiff.

32.       Defendant Deluca ordered Plaintiff from his car.




7
      Case 1:17-cv-00228-SPB Document 45 Filed 04/04/18 Page 8 of 29




33.    In fear of being assaulted, Plaintiff attempted to flee, but took approximately two

steps before he was stopped by Defendants Deluca and Stadler.

34.    Defendants Deluca and Stadler held Plaintiff by each arm.

35.    While being held by Defendants Deluca and Stadler, a third defendant - unknown

to Plaintiff at this time - punched Plaintiff multiple times in his face.

36.    Plaintiff was then forcefully taken to the ground while his arms and hands were

held behind his back.

37.    Plaintiff was handcuffed by the defendants.

38.    Defendant Bush used his taser on Plaintiff while Plaintiff was handcuffed on the

ground.

39.    Plaintiff was kicked and punched about his body while he lay in a prone position,

handcuffed on the ground.

40.    Defendants pulled Plaintiff off of the ground, forcing him to stand on his feet.

41.    Defendants then forcefully slammed Plaintiff's head and upper body into the

windshield of an unmarked patrol vehicle.

42.    Plaintiff's face hit the windshield with so much force that the windshield cracked.

43.    Defendants then pushed Plaintiff's face into the windshield while they dragged his

face from the windshield to the hood of the unmarked patrol vehicle.

44.    Defendants then slammed the back of Plaintiff's head into the roof and door jamb

of the car as they forced him into the unmarked patrol vehicle.

45.    TJ's utilizes video to record the parking lot where Plaintiff was assaulted.

46.    The assault of Plaintiff by the Defendants was captured on video (hereinafter, the

“TJ video”).




8
      Case 1:17-cv-00228-SPB Document 45 Filed 04/04/18 Page 9 of 29




47.     A copy of the TJ video was provided to Counsel by the Erie County District

Attorney's office.

48.     The TJ video shows two uniformed officers holding Plaintiff's arms outstretched

while a third uniformed officer punches Plaintiff multiple times.

49.     The TJ video also shows multiple uniformed police officers punching and kicking

Plaintiff while he lays handcuffed on the ground.

50.     The TJ video shows uniformed officers slamming Plaintiff's face into the

windshield of an unmarked patrol car.

51.     The TJ video shows uniformed officers slamming the back of Plaintiff's head into

the roof and door jamb of an unmarked patrol car.

52.     Plaintiff was taken University of Pittsburgh Medical Center at Hamot (hereinafter

“UPC-Hamot”) complaining of facial pain and an inability to open his right eye.

53.     Plaintiff was diagnosed with an acute fracture of his right orbital bone along with

other injuries.

54.     The incident occurred while Plaintiff was in a non-threatening and defenseless

physical position, unarmed, and completely unable to pose any threat to others or defend

himself.

55.     Plaintiff did not attempt to disarm any police officer on June 27, 2016.

56.     Plaintiff did not assault or attempt to assault any police officer on June 27, 2016.

57.     Any injuries suffered by Defendants during the arrest of Plaintiff were the result

of the vicious assault that defendants purposefully executed against Plaintiff.




9
      Case 1:17-cv-00228-SPB Document 45 Filed 04/04/18 Page 10 of 29




58.     Other Erie police officers, along with the defendant police officers named herein,

were present and had the opportunity and duty to intervene and stop the assault and

excessive use of force on Plaintiff.

59.     At no time during the incident did any of the officers present, including the

defendant officers named herein, take any action to stop the assault, or to take control of

the situation.

60.     Immediately after being assaulted by Defendants, Plaintiff was experiencing pain.

61.     As set forth more fully below, Defendants intentionally used excessive force

against the Plaintiff, which was unreasonable, unjustifiable, and unconstitutional.

62.     At all relevant times, Defendants knew or should have known that their actions

were in violation of Plaintiffs Fourth and Fourteenth Amendment Rights.

63.     Defendants’ actions, and the underlying motivation for their actions, were

conscience-shocking, and carried out without conscious regard or due care for Plaintiff or

the foreseeable consequences of their actions, and with such wanton and reckless

disregard of the consequences as to show Defendants’ deliberate indifference to the

danger of harm and injury to Plaintiff.

64.     As a direct and proximate cause of Defendants’ actions and inactions, Plaintiff

suffered and continues to suffer deprivation of his rights, fear, and horror, all to

Plaintiff’s great detriment and loss.

65.     As a direct and proximate cause of Defendants’ actions and inactions, Plaintiff

suffered and was made to undergo physical pain and horrible mental anguish, all to his

great detriment, financial detriment, and personal loss.




10
      Case 1:17-cv-00228-SPB Document 45 Filed 04/04/18 Page 11 of 29




66.     Plaintiff’s serious injuries were a foreseeable and direct result of the actions and

inactions of all Defendants.

67.     Defendants violated Plaintiff’s clearly established and well-settled federal

constitutional rights, including, but not limited to, his right to personal security, and his

right to be free from the use of excessive, unreasonable and unjustified force.

68.     Furthermore, the Constitutional violations suffered by Plaintiff were the result of

Defendant City’s policies, procedures, customs, and practices of allowing its officers to

use unreasonable and excessive force, thereby violating the civil rights of those with

whom they come into contact.

69.     Defendant City has maintained, with the deliberate indifference to the impact on

citizens, an inadequate system of review of instances of misconduct, abuse of police

powers or violation of citizens’ rights by police officer, a system which has failed to

identify instances of abuse of police powers or violations of citizens’ rights by police

officers, discipline, more closely supervise, or retain officers who abuse their police

powers or violate citizens’ rights, including the police officers named as parties herein.

70.     Defendant City was deliberately indifferent to the need for more or different

training, rules, regulations, investigations and discipline relating to police officers’ use of

excessive force, as set forth above.

71.     The foregoing acts, omissions, systemic deficiencies, practices, customs and

deliberate indifference constitutes the policies, practices, and customs of Defendant City,

and have caused police officers of Defendant City, including the police officers named as

parties herein, to violate the constitutional rights of citizens, including Plaintiff.




11
      Case 1:17-cv-00228-SPB Document 45 Filed 04/04/18 Page 12 of 29




72.     The rights, violations, and injuries suffered by Plaintiffs were a foreseeable result

of the policies, practices, customs, and deliberate indifference of Defendant City.

                              COUNT I
        VIOLATION OF THE FOURTH AMENDMENT: EXCESSIVE FORCE;
               DEPRIVATION OF RIGHTS UNDER THE FOURTH AND
                 FOURTEENTH AMENDMENTS AND 42 U.S.C. § 1983
      PLAINTIFF VS. DEFENDANT OFFICERS STEVEN DELUCA, IRA BUSH,
      WILLIAM GOOZDICH, JACOB SACK, NICK STADLER, AND JERRY
                             STEVENS

73.     The allegations set forth in the preceding paragraphs are incorporated as though

fully set forth herein.

74.     Title 42 U.S.C. § 1983 (“Section 1983”) provides in pertinent part:

                Every person who, under color of any statute, ordinance,
                regulation, custom, or usage, of any State or Territory or
                the District of Columbia, subjects, or causes to be
                subjected, any citizen of the United States or
                other person within the jurisdiction thereof to the
                deprivation of any rights, privileges, or immunities secured
                by the Constitution and laws, shall be liable to the party
                injured in an action at law, suit in equity, or other proper
                proceeding for redress…

75.     Plaintiff is a citizen of the United States and all of the individual police officer-

defendants to this claim are persons for the purpose of Section 1983.

76.     All individual defendants to this claim, at all times relevant hereto, were acting

under the color of state law in their capacity as City of Erie police officers and their acts

or omissions were conducted within the scope of their official duties or employment.

77.     At the time of the complained-of events, Plaintiff had a clearly established

constitutional right under the Fourth and Fourteenth Amendments to be free from the use

of excessive force against him by police officers.




12
      Case 1:17-cv-00228-SPB Document 45 Filed 04/04/18 Page 13 of 29




78.     Any reasonable officer knew or should have known of these rights at the time of

the complained-of conduct as they were clearly established at that time.

79.     Use of force by police officers is excessive, and therefore violates the Fourth

amendment if it is not reasonable in light of the circumstances facing the officer. See

Graham v. Connor, 490 U.S. 386, 398 (1989).

80.     Defendant-police officers’ actions and use of force, as described throughout, were

objectively unreasonable in light of the facts and circumstances confronting them and

violated the constitutional rights of Plaintiff. Defendants utilized excessive force by

performing the following actions: Defendants Deluca and Stadler restraining Plaintiff by

each arm while a third defendant punched Plaintiff multiple times in his face; forcibly

taking Plaintiff to the ground while his arms and hands were held behind his back;

handcuffing Plaintiff; Defendant Bush’s use of his taser on Plaintiff while Plaintiff was

handcuffed on the ground; all Defendant-Police Officers’ acts of kicking and punching

Plaintiff about his body while he lay in a prone position, handcuffed on the ground;

Defendant-Police Officers’ forcefully slamming Plaintiff's head and upper body into the

windshield of an unmarked patrol vehicle, causing Plaintiff's face to hit the windshield

with so much force that the windshield cracked; Defendant-Police Officers’ act of

pushing Plaintiff's face into the windshield while they dragged his face from the

windshield to the hood of the unmarked patrol vehicle; and Defendant-Police Officers’

act of slamming the back of Plaintiff's head into the roof of the car as they forced him

into the unmarked patrol vehicle.




13
      Case 1:17-cv-00228-SPB Document 45 Filed 04/04/18 Page 14 of 29




81.     Moreover, Defendant-police officers had no reasonable fear of imminent bodily

harm from Plaintiff towards them or anyone else when they chose to attackand assault

Plaintiff.

82.     Defendants-police officers’ actions and use of force against Plaintiff, as described

herein, were also willful, malicious and/or involved reckless, callous, and deliberate

disregard to Plaintiff’s federally protected rights, and were designed to and did cause

serious injury and pain and suffering in violation of plaintiff’s rights as guaranteed under

42 U.S.C. § 1983 and the Fourth and Fourteenth amendments.

83.     These individual defendants are not entitled to qualified immunity for the

complained-of conduct.

84.     The acts and omissions of Defendant-police officers as described herein

intentionally deprived Plaintiff of his constitutional rights noted above and caused him to

suffer other damages and losses as set forth in this complaint, entitling him to recovery of

compensatory and special damages in amounts to be determined at trial.

85.     In addition to compensatory, economic, consequential, and special damages,

Plaintiff is entitled to punitive damages against each of the individually named

defendants under 42 U.S.C. § 1983, in that the actions of these individuals were done

maliciously, willfully, or with reckless or wanton disregard of the constitutional rights of

Plaintiff.

86.     Plaintiff is further entitled to attorney’s fees and the cost of prosecution of this

suit pursuant to 42 U.S.C. §1988, pre-judgment interest and costs as allowable by federal

law. There may also be special damages for lien interests.




14
      Case 1:17-cv-00228-SPB Document 45 Filed 04/04/18 Page 15 of 29




                               COUNT II
       LIABILITY IN CONNECTION WITH THE ACTIONS OF ANOTHER –
                        FAILURE TO INTERVENE:
                  DEPRIVATION OF RIGHTS UNDER 42 U.S.C. § 1983
      PLAINTIFF VS. DEFENDANT OFFICERS STEVEN DELUCA, IRA BUSH,
       WILLIAM GOOZDICH, JACOB SACK, NICK STADLER, AND JERRY
                               STEVENS

87.       The allegations set forth in the preceding paragraphs are incorporated as though

fully set forth herein.

88.       Each defendant had a duty to intervene to prevent and/or stop the ongoing

Constitutional violations of Plaintiff’s federally protected rights as claimed herein by the

other defendants.

89.       Each defendant had a reasonable opportunity to intervene, to prevent, and/or stop

the ongoing Constitutional violations of Plaintiff’s federally protected rights as claimed

herein.

90.       None of the defendant-officers took any steps to intervene to protect Plaintiff

from the conscience-shocking excessive force of other defendant-officers, despite being

in a position to do so.

91.       As a result of defendants’ failure to intervene, Plaintiff’s constitutional rights

were violated as alleged herein and each defendant is liable for the harm and damages of

the Plaintiff as set forth above.

92.       The failure of defendants to intervene as described herein intentionally deprived

Plaintiff of his constitutional rights noted above and caused him to suffer other damages

and losses as set forth in this complaint, entitling him to recovery of compensatory and

special damages in amounts to be determined at trial.




15
      Case 1:17-cv-00228-SPB Document 45 Filed 04/04/18 Page 16 of 29




93.     In addition to compensatory, economic, consequential, and special damages,

Plaintiff is entitled to punitive damages against each of the individually named

defendants under 42 U.S.C. § 1983, in that the actions of these individuals were done

maliciously, willfully, or with reckless or wanton disregard of the constitutional rights of

Plaintiff.

94.     Plaintiff is further entitled to attorney’s fees and the cost of prosecution of this

suit pursuant to 42 U.S.C. §1988, pre-judgment interest and costs as allowable by federal

law. There may also be special damages for lien interests.

                             COUNT III
   RACIAL DISCRIMINATION: DEPRIVATION OF RIGHTS UNDER THE
 EQUAL PROTECTION CAUSE OF THE FOURTEENTH AMENDMENT AND
                     42 U.S.C. § 1981 AND § 1983
   PLAINTIFF VS. DEFENDANT OFFICERS STEVEN DELUCA, IRA BUSH,
    WILLIAM GOOZDICH, JACOB SACK, NICK STADLER, AND JERRY
                              STEVENS

95.     The allegations set forth in the preceding paragraphs are incorporated as though

fully set forth herein.

96.     At the time of the complained-of events, Plaintiff had a clearly established

constitutional right to be free from racial discrimination in law enforcement by police

officers and to enjoy equal protection of the laws.

97.     Title 42 U.S.C. § 1981 (“Section 1981”) provides in pertinent part:

                (a) all persons within the jurisdiction of the United States
                shall have the same right in every State and Territory
                to make and enforce contracts, to sue, be parties, give
                evidence, and to the full and equal benefit of all laws and
                proceedings for the security of persons and property as is
                enjoyed by white citizens, and shall be subject to like
                punishment, pains, penalties, taxes, licenses, and exactions
                of every kind, and to no other.




16
       Case 1:17-cv-00228-SPB Document 45 Filed 04/04/18 Page 17 of 29




98.      Plaintiff, as an African-American, is a member of a protected class, and thus also

had the clearly established statutory right under this provision of 42 U.S.C. § 1981 to be

free from racially motivated beatings.

99.      Any reasonable officer knew or should have known of these rights at the time of

the complained-of conduct as they were clearly established at that time.

100.     Plaintiff’s race was a motivating factor in the decisions of the defendant officers

to unlawfully stop and seize Plaintiff and use excessive force against him. Defendants’

conduct was motivated by a purpose of depriving Plaintiff of the equal protection and

benefits of the law, and equal privileges and immunities under the law, in violation of the

Fourteenth Amendment and §1981.

101.     Defendants-police officers engaged in conduct described in this complaint

willfully, maliciously, in bad faith, and involved reckless, callous, and deliberate

disregard to Plaintiff’s federally protected rights.

102.     These individual defendants are not entitled to qualified immunity for the

complained-of conduct.

103.     The acts and omissions of Defendant-police officers as described herein

intentionally deprived Plaintiff of his constitutional rights noted above and caused him to

suffered other damages and losses as set forth in this complaint, entitling him to recovery

of compensatory and special damages in amounts to be determined at trial.

104.     In addition to compensatory, economic, consequential, and special damages,

Plaintiff is entitled to punitive damages against each of the individually named

defendants under 42 U.S.C. § 1983, in that the actions of these individuals were done




17
       Case 1:17-cv-00228-SPB Document 45 Filed 04/04/18 Page 18 of 29




maliciously, willfully, or with reckless or wanton disregard of the constitutional rights of

Plaintiff.

105.     Plaintiff is further entitled to attorney’s fees and the cost of prosecution of this

suit pursuant to 42 U.S.C. §1988, pre-judgment interest and costs as allowable by federal

law. There may also be special damages for lien interests.

                               COUNT IV
             CONSPIRACY TO DEPRIVE PLAINTIFF’S RIGHTS
                          UNDER 42 U.S.C. § 1983
     PLAINTIFF VS. DEFENDANT OFFICERS STEVEN DELUCA, IRA BUSH,
      WILLIAM GOOZDICH, JACOB SACK, NICK STADLER, AND JERRY
                              STEVENS

106.     The allegations set forth in the preceding paragraphs are incorporated as though

fully set forth herein.

107.     At all times during the events on June 27, 2016, the defendant-police officers

named herein engaged in a joint venture. The individual police officers assisted each

other in performing the various acts described, lent their physical presence and support

and the authority of their office to each other during the said event, and subsequently, in

order to cover up their unwarranted assault upon Plaintiff, conspired to fabricate claims

about Plaintiff, namely, that he lunged for one of their weapons, all while failing to report

their wrongdoing to other officials within the Erie Police Department.

108.     The defendant-officers participated in a conspiracy to assault Plaintiff, conspired

to fabricate claims about Plaintiff, namely, that he lunged for one of their weapons, and

as a part of this conspiracy failed to report their wrongdoing to other officials within the

Erie Police Department.




18
       Case 1:17-cv-00228-SPB Document 45 Filed 04/04/18 Page 19 of 29




109.     This conspiracy, as it applies to Plaintiff, was an express and/or implied

agreement between the defendant-officers and others to deprive the plaintiff of his

Constitutional rights to be free from the unlawful use of force against him.

110.     The defendants were voluntary participants in the common venture, understood

the general objectives of the venture, knew it involved the likelihood of the deprivation of

constitutional rights, accepted those general objectives, and then agreed either explicitly

or implicitly to do their part to further those objectives.

111.     The defendant officers acted or failed to act in a manner intended to facilitate the

deprivation of Plaintiff’s constitutional rights as alleged.

112.     An actual deprivation of those rights did occur to Plaintiff resulting from the said

agreement of common design and the foreseeable consequences thereof.

113.     The individual defendants are jointly and severally responsible for the injuries

caused by their co-conspirators, even if or when their own personal acts or omissions did

not proximately contribute to the injuries or other harms which resulted.

114.     As a result of the conspiracy entered into and acted upon by individual defendants

and other co-conspirators whose identity is presently unknown to Plaintiff, Plaintiff

suffered deprivation of his constitutional rights, and continues to suffer physical injuries,

pain and suffering, emotional distress, mental anguish, loss of reputation, scorn of the

community, and/or related financial losses.

115.     The acts and omissions of Defendant-police officers as described herein

intentionally deprived Plaintiff of his constitutional rights noted above and caused him to

suffered other damages and losses as set forth in this complaint, entitling him to recovery

of compensatory and special damages in amounts to be determined at trial.




19
       Case 1:17-cv-00228-SPB Document 45 Filed 04/04/18 Page 20 of 29




116.     In addition to compensatory, economic, consequential, and special damages,

Plaintiff is entitled to punitive damages against each of the individually named

defendants under 42 U.S.C. § 1983, in that the actions of these individuals were done

maliciously, willfully, or with reckless or wanton disregard of the constitutional rights of

Plaintiff.

117.     Plaintiff is further entitled to attorney’s fees and the cost of prosecution of this

suit pursuant to 42 U.S.C. §1988, pre-judgment interest and costs as allowable by federal

law. There may also be special damages for lien interests.

                                COUNT V
        MUNICIPAL LIABILITY UNDER 42 U.S.C. §1983: DELIBERATELY
       INDIFFERENT POLICIES, PRACTICES, CUSTOMS, TRAINING, AND
       SUPERVISION IN VIOLATION OF THE FOURTH AND FOURTEENTH
            AMENDMENTS AND IN VIOLATION OF 42 U.S.C. §1983
                 PLAINTIFF VS. DEFENDANT CITY OF ERIE

118.     The allegations set forth in the preceding paragraphs are incorporated as though

fully set forth herein.

119.     Defendant City, at all times relevant hereto was acting under the color of state

law.

120.     Plaintiff had the following clearly established rights at the time of the conduct

complained-of in this action:

             a. The right, under the Fourth and Fourteenth Amendments to be free from
                excessive force by police officers;

             b. The right, under the Fourth and Fourteenth Amendments to have other
                police officers intervene to prevent and/or stop the use of such excessive
                force;

             c. The right, under the equal protection clause of the under the Fourteenth
                Amendment and under 42 U.S.C. §1981 to be free from discrimination by
                police.




20
       Case 1:17-cv-00228-SPB Document 45 Filed 04/04/18 Page 21 of 29




121.     Defendant City knew or should have known of these rights at the time of the

complained-of conduct as they were clearly established at that time.

122.     Municipalities may be held liable under Section 1983 for constitutional torts that

are committed pursuant to a policy, procedure, practice, or custom of the municipality.

Even if Defendant City’s practice of overlooking constitutional torts was not authorized

by an officially adopted policy, the practice may be so common and well-settled that it

fairly represents official policy. See Bd. of County Comm'rs of Bryan County v. Brown,

520 U.S. 397, 404 (1997).

123.     With deliberate indifference to the rights of citizens to be free from excessive

force by its police officers, Defendant City has encouraged, tolerated, ratified, tacitly

sanctioned and/or acquiesced to a dangerous environment of police brutality by:

            a. Failing to conduct sufficient training, monitoring or supervision of its
               police officers regarding the constitutional limitations on the use of force;

            b. Failing to adequately punish or discipline unconstitutional uses of force by
               its police officers;

            c. Tolerating the unconstitutional force by its police officers;

            d. Failing to properly and neutrally investigate citizen complaints of
               excessive force; and

            e. Tolerating, encouraging, and permitting collusive statements and
               misreporting or non-reporting of events by involved officers in such
               situations so as to allow such officers to cover up their own wrongdoing in
               the improper use of force against the public.

124.     It has been the longstanding widespread deliberately indifferent policy, practice

and/or custom of Defendant City, acting through its police department and its police

officers to use excessive force against citizens of Defendant City when such use is

unnecessary and unjustified, as well as to fail to supervise and to train police officers on




21
       Case 1:17-cv-00228-SPB Document 45 Filed 04/04/18 Page 22 of 29




the constitutional limitations on the use of force, knowing that these members of law

enforcement pose a significant risk of injury to the public.

125.     With deliberate indifference to the rights of citizens to be free from racism in law

enforcement, Defendant City has encouraged, tolerated, ratified, tacitly sanctioned and/or

acquiesced to police racism by:

            a. Failing to conduct sufficient training, monitoring or supervision with
               respect to the rights of citizens to be free from racism from law
               enforcement;

            b. Failing to adequately punish race-based law enforcement actions;

            c. Tolerating racism, slurs, and race-based selective law enforcement among
               the police force and in police decisions;

            d. Failing to properly and neutrally investigate citizen/community complaints
               of racism, sue of racial slurs, racial profiling, race-based animus, and
               tolerating collusive statements by involved officers in such situations; and

            e. Failing for decades to hire additional minority police officers.

126.     It has been the longstanding widespread deliberately indifferent policy, practice

and/or custom of Defendant City, acting through its police department and its police

officers, to condone and/or permit police officers to use race and race-based animus as

motivating factors in its police decisions and actions, as well as to fail to supervise and to

train officers in the rights of citizens of Defendant City to be free from such race-based

decision-making in law enforcement.

127.     Defendant City knew and/or should have known of the longstanding effects of

racism upon the decisions and actions of officers in the Erie Police Department (EPD).

For example, in addition to many continuing complaints about claims of racial profiling

and treatment of minorities by the EPD, the Civic Institute of Mercyhurst College

published Analysis of Police Stops and Searches City of Erie, PA – Prepared on Behalf of



22
       Case 1:17-cv-00228-SPB Document 45 Filed 04/04/18 Page 23 of 29




the City of Erie. This study was designed to gauge the presence or absence of racial

disparity in officer-initiated vehicle stops, pedestrian stops and searches. The study

analyzed 2,162 vehicle stops by the EPD over a 6 month period of September 1, 2001

through February 28, 2002. Among its data-based findings were the following:

            a. The actual number of motor vehicle stops of minorities was significantly
               greater than expected, based upon the citywide minority population;

            b. Minorities are significantly more likely to be stopped in high discretion
               circumstances than are non-minorities; and

            c. Minorites are significantly more likely to be searched than non-minorities.

See Analysis if Police Stops and Searches City of Erie, PA, April 2002, pp. 33-34.

128.     With deliberate indifference to the rights of citizens, Defendant City has

encouraged, tolerated, ratified, tacitly sanctioned and/or acquiesced to the cover-up

efforts by police officers by all-too-often accepting and rubber-stamping police accounts

of police misconduct complaints brought or made by citizens.

129.     It has been the longstanding widespread deliberately indifferent policy, practice

and/or custom of Defendant City to inadequately investigate and find no fault with police

conduct in the face of citizen-brought complaints of police misconduct, so that acts of

police misconduct have instead been tolerated by Defendant City.

130.     It has been the longstanding widespread deliberately indifferent policy, practice

and/or custom of Defendant City to inadequately train, supervise, and discipline its police

officers, thereby failing to adequately discourage constitutional violations committed by

its police officers against the public.

131.     As a result of the above-described policy, practice and/or custom of Defendant

City, the police officers of the EPD, including the police officers in this case, have




23
       Case 1:17-cv-00228-SPB Document 45 Filed 04/04/18 Page 24 of 29




believed that their actions would not be properly monitored by supervisory officials and

that misconduct would not be investigated or sanctioned, but would be tolerated.

132.      The deliberately indifferent custom, habit, policy, decision, practice, training and

supervision of Defendant City and its EPD in the regards identified above, has effectively

tolerated and encouraged lawlessness and disregard for the federal rights of citizens of

Defendant City by EPD officers.

133.      At the time the individual defendant-officers unlawfully assaulted and injured

Plaintiff, said officers were acting pursuant to Defendant City’s longstanding policies,

practices, custom and procedures that overlooked and/or authorized and/or condoned

and/or fostered the above described unconstitutional conduct of the individual defendant

police officers. See Monell v. New York City Dept. of Social Services, 436 U.S. 658, 659

(1978).

134.      The above-described conduct of the individual defendant police officers alleged in

this action was a direct consequence of the above-described widespread, deliberately

indifferent custom, habits, practices, usage and/or policies of Defendant City.

135.      Thus, Defendant City’s above-described widespread, deliberately indifferent

custom, habits, practices, usage and/or policies demonstrated a deliberate indifference to

the constitutional rights of the public, and were a direct and proximate cause of the

violations of Plaintiff’s constitutional and statutory rights alleged herein.

136.       Defendant City’s above-described widespread, deliberately indifferent custom,

habits, practices, usage and/or policies were a direct and proximate cause of Plaintiff’s

above-described injuries, damages and losses.




24
       Case 1:17-cv-00228-SPB Document 45 Filed 04/04/18 Page 25 of 29




137.     Said conduct of Defendant City entitles Plaintiff to recovery of compensatory and

special damages in an amount to be determined at trial.

138.     Plaintiff is further entitled to attorney’s fees and the cost of prosecution of this

suit pursuant to 42 U.S.C. §1988, pre-judgment interest and costs as allowable by federal

law. There may also be special damages for lien interests.

                               COUNT VI
                    STATE LAW ASSAULT AND BATTERY
     PLAINTIFF VS. DEFENDANT OFFICERS STEVEN DELUCA, IRA BUSH,
      WILLIAM GOOZDICH, JACOB SACK, NICK STADLER, AND JERRY
                              STEVENS

139.     The allegations set forth in the preceding paragraphs are incorporated as though

fully set forth herein.

140.     By the conduct and actions described above, defendant-police officers inflicted

the torts of assault and battery upon Plaintiff. The acts and conduct were the direct and

proximate cause of the injuries and damages to Plaintiff and violated Plaintiff’s statutory

and common law rights as guaranteed by the Commonwealth of Pennsylvania.

141.     Defendants’ acts constituted assault upon Plaintiff in that Defendants intended to

and actually placed Plaintiff in fear of imminent, unwarranted, unprivileged, offensive

bodily contact.

142.     Defendants’ acts constituted battery upon Plaintiff in that the above-described

bodily contact was intentional, unauthorized, and grossly offensive in nature.

143.     Defendants’ acts were intentional, reckless, unwarranted, and without just cause

or provocation, and said defendants knew or should have known that their actions were

without the consent of Plaintiff.




25
       Case 1:17-cv-00228-SPB Document 45 Filed 04/04/18 Page 26 of 29




144.     As a direct and proximate result of the foregoing, Plaintiff was subjected to great

physical and emotional pain and humiliation, and was otherwise injured and damaged as

set forth in this Complaint.

                             COUNT VII
                 STATE LAW INTENTIONAL INFLICTION
                       OF EMOTIONAL DISTRESS
     PLAINTIFF VS. DEFENDANT OFFICERS STEVEN DELUCA, IRA BUSH,
      WILLIAM GOOZDICH, JACOB SACK, NICK STADLER, AND JERRY
                              STEVENS

145.     The allegations set forth in the preceding paragraphs are incorporated as though

fully set forth herein.

146.     The conduct and actions described above of Defendant-police officers was

extreme, outrageous and utterly intolerable in a civilized community.

147.     Said above-described conduct exceeded all reasonable bounds of decency.

148.     Said above-described conduct was intended to and did causer severe emotional

distress to Plaintiff.

149.     The acts and conduct were the direct and proximate cause of the injuries and

damages to Plaintiff and violated Plaintiff’s statutory and common law rights as

guaranteed by the Commonwealth of Pennsylvania.

150.     As a direct and proximate result of the foregoing, Plaintiff was subjected to great

physical and emotional pain and humiliation, and was otherwise injured and damaged as

set forth in this Complaint.

                                   PRAYER FOR RELIEF

         WHEREFORE, Plaintiff requests that the Court find and determine, after trial by

jury as appropriate, that Plaintiff suffered substantial and continuing injury as a result of




26
       Case 1:17-cv-00228-SPB Document 45 Filed 04/04/18 Page 27 of 29




deprivation of his civil and Constitutional rights, and otherwise wrongful conduct and

award the following relief, as appropriate:

i)       Compensatory and consequential damages, including damages for economic

         losses, emotional distress, humiliation, loss of enjoyment of life, and other pain

         and suffering on all claims against all defendants;

ii)      Punitive damages on all claims allowed by law against the individual defendants;

iii)     Award of all reasonable Attorneys’ fees and costs associated witht his action to

         Plaintiff under 42 U.S.C. §1988, including expert witness fees, on all claims

         allowable by law;

iv)      Pre- and post-judgment interest at the lawful rate; and

v)       Any further legal and equitable relief as the Court deems just and proper.

                                        JURY DEMAND

151.     The allegations set forth in the preceding paragraphs are incorporated as though

fully set forth herein.

152.     Pursuant to F.R.C.P. 38, a jury trial is demanded.



                                By: /s/: Kevin V. Mincey
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                                    Thomas O. Fitzpatrick, Esquire
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                                    Counsel for Plaintiff Montrice Bolden




27
     Case 1:17-cv-00228-SPB Document 45 Filed 04/04/18 Page 28 of 29




                                        VERIFICATION


       I, Montrice Bolden, hereby verify that the facts set forth in the foregoing Second

Amended Complaint are true and correct to the best of his knowledge, information and

belief, and that this is made subject to the penalties of 18 Pa. C.S. 4904 relating to

unsworn falsification to authorities.


                                               By: /s/ Montrice Bolden
                                                       Montrice Bolden




28
     Case 1:17-cv-00228-SPB Document 45 Filed 04/04/18 Page 29 of 29




                               CERTIFICATE OF SERVICE

        I, Kevin V. Mincey, hereby certify that on this date, the attached Second Amended

Complaint was served according to the Federal Rules of Civil Procedure upon the

following individuals:

City of Erie, Pennsylvania
626 State Street
Erie, PA 16501

STEVEN DELUCA, Police Officer
Erie Police Dept.
626 State Street
Erie, PA 16501

IRA BUSH, Police Officer
Erie Police Dept.
626 State Street
Erie, PA 16501

WILLIAM GOOZDICH, Police Officer
Erie Police Dept.
626 State Street
Erie, PA 16501

JACOB SACK, Police Officer
Erie Police Dept.
626 State Street
Erie, PA 16501

NICK STADLER, Police Officer
Erie Police Dept.
626 State Street
Erie, PA 16501

JERRY STEVENS, Police Officer
Erie Police Dept.
626 State Street
Erie, PA 16501

                                            By: /s/: Kevin V. Mincey
                                                     Kevin V. Mincey

        Date: April 4, 2018




29
